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 8                                UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
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12   IN RE: ZOOM VIDEO COMMUNICATIONS                    Master Case No. 3:20-cv-02155-LB
     INC. PRIVACY LITIGATION,
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     This Document Relates To:                           [PROPOSED] ORDER GRANTING
14                                                       MOTION FOR APPROVAL OF
            All Actions                                  SETTLEMENTS WITH OBJECTOR-
15                                                       APPELLANTS AND AMENDMENT OF
                                                         THE SETTLEMENT AGREEMENT
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            On April 21, 2022, the Court granted final approval of class settlement in this action. ECF
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     No. 249. Shortly thereafter, objectors Sammy Rodgers, Alvery Neace, and Judith Cohen filed
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     notices of appeal to the Ninth Circuit. On October 27, 2022, the parties filed a joint motion, ECF
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     No. 255, requesting an indicative ruling as to whether, upon remand from the Ninth Circuit, the
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     Court will approve the settlement agreements, ECF Nos. 255-2 and 255-3 (and re-filed as ECF
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     Nos. 259-2 and 259-3) reached between them and the objectors. On November 11, 2022, the
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     Court granted that motion and ruled that it would “approve the objector settlements and the
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     overall settlement agreement in its new form.” ECF No. 257 at 6.
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            For the reasons stated in the Court’s Order Granting Motion for Indicative Ruling, ECF
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     No. 267, the Court orders as follows:
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                1. The Court approves the settlement agreements with the objectors, ECF Nos. 259-2
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                                                                  [PROPOSED] ORDER GRANTING MOTION FOR
                                                                               APPROVAL OF SETTLEMENTS
                                                                          MASTER CASE NO. 3:20-CV-02155-LB
     Case 3:20-cv-02155-LB Document 261 Filed 12/16/22 Page 2 of 2



 1            and 259-3, as being in the best interests of the class. The settlements were reached

 2            through arms’-length negotiations as a result of the Ninth Circuit’s mediation

 3            process, facilitate the claims and distribution process, provide an additional
 4            limitation to the scope of the release, prevent further expenditures on appeal at the
 5            expense of the Settlement Class, and expedite payment to the Settlement Class

 6            Members.
 7         2. The Court approves the Parties’ amendment, ECF No. 259-4, to the Class Action
 8            Settlement Agreement and Release, ECF No. 191-1, that the Court previously
 9            approved, ECF No. 249 as “fair, reasonable, and adequate” under Rule 23(e)(2);

10         3. Notice of the settlements with the objectors and the amendment to the Class

11            Action Settlement Agreement and Release need not be provided to the Settlement
12            Class because the settlements benefit the Settlement Class; and

13         4. The Court’s Final Approval Order, ECF No. 249, is amended to provide that

14            checks mailed to claimants will be good for 120 days rather than the 90 days
15            contemplated by the Settlement Agreement and Release prior to amendment.

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17        IT IS SO ORDERED.

18     Dated: December 16, 2022

19                                                  ____________________________________
20                                                  HON. LAUREL BEELER
                                                    United States District Judge
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                                                             [PROPOSED] ORDER GRANTING MOTION FOR
                                                                          APPROVAL OF SETTLEMENTS
                                                2                    MASTER CASE NO. 3:20-CV-02155-LB
